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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 11-0485 AG (AJWx)                                Date   November 2, 2018
   Title         LISA LIBERI ET AL. v. ORLY TAITZ ET AL.




   Present: The                ANDREW J. GUILFORD
   Honorable
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder            Tape No.
           Attorneys Present for Plaintiffs:               Attorneys Present for Defendants:


   Proceedings:           [IN CHAMBERS] ORDER REGARDING REQUEST TO
                          FILE MOTION FOR RECONSIDERATION AND RELIEF
                          FROM FINAL JUDGMENT

  Plaintiff Lisa Liberi requests leave to file a motion for reconsideration of the Court’s
  October 5, 2018 order regarding the parties’ cross motions for summary judgment. Liberi
  also seeks relief from the final judgment. (Dkt. Nos. 841, 842.)

  The Court GRANTS leave to file the reconsideration motion attached to Liberi’s letter
  requesting leave. If Liberi intends to pursue the relief requested, she must now file a
  noticed motion for reconsideration and reserve a hearing date. The Court DENIES leave
  to file the “Motion for Breach of Contract; Rescission; Restitution; and Declaratory
  Relief,” as it does not contain a legally cognizable request, but instead appears to be an
  attempt to file a new complaint under cover of a motion.

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                                                         Preparer             lmb

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